Case 3:16-cV-03314-C Document 8 Filed 04/18/17 Page 1 of 1 Page|D 78

lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
HASKELL 305 LLC, )
)
Plaintiff, )
)
v. )
)
SENECA INSURANCE COMPANY, et al., )
)
Defendants. ) Civil Action No. 3:l6-CV-33l4-C

ORDER
The parties have indicated to the Court that they have settled this case. Accordingly, this
case is administratively closed without prejudice to its being reopened to enter an order of
dismissal or to enter other orders if the settlement is not consummated Counsel in this case are
ordered to file the papers necessary to dismiss this action on or before 21 days from the date of
this order.
SO ORDERED.

Dated this /X day of April, 2017.

    

 

   

§§

CU GS
ED STATES DI T CT JUDGE

